                        Case 3:23-cv-03417-VC         Document 364     Filed 12/26/24    Page 1 of 3



                    1   COOLEY LLP
                        BOBBY GHAJAR (198719)
                    2   (bghajar@cooley.com)
                        TERESA MICHAUD (296329)
                    3   (tmichaud@cooley.com)
                        COLETTE GHAZARIAN (322235)
                    4   (cghazarian@cooley.com)
                        1333 2nd Street, Suite 400
                    5   Santa Monica, California 90401
                        Telephone:    (310) 883-6400
                    6
                        MARK WEINSTEIN (193043)
                        (mweinstein@cooley.com)
                    7
                        KATHLEEN HARTNETT (314267)
                        (khartnett@cooley.com)
                    8
                        JUDD LAUTER (290945)
                        (jlauter@cooley.com)
                    9
                        ELIZABETH L. STAMESHKIN (260865)
                        (lstameshkin@cooley.com)
                   10
                        3175 Hanover Street
                        Palo Alto, California 94304-1130
                   11
                        Telephone:     (650) 843-5000
                   12   CLEARY GOTTLIEB STEEN & HAMILTON LLP
                        ANGELA L. DUNNING (212047)
                   13   (adunning@cgsh.com)
                        1841 Page Mill Road, Suite 250
                   14   Palo Alto, California 94304
                        Telephone: (650) 815-4131
                   15
                        [Full Listing on Signature Page]
                   16   Counsel for Defendant Meta Platforms, Inc.
                   17
                                                   UNITED STATES DISTRICT COURT
                   18

                   19                           NORTHERN DISTRICT OF CALIFORNIA

                   20                                   SAN FRANCISCO DIVISION

                   21   RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC-TSH
                   22      Individual and Representative Plaintiffs,    DEFENDANT META PLATFORMS, INC.’S
                                                                        RESPONSE TO COURT’S DISCOVERY ORDER
                   23          v.                                       OF DECEMBER 20, 2024 [DKT. 315]

                   24   META PLATFORMS, INC., a Delaware
                        corporation;
                   25
                                                        Defendant.
                   26

                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                              DEF. META’S RESPONSE TO COURT’S ORDER
                                                                                            OF DEC. 20, 2024 [DKT. 315]
                                                                                               3:23-CV-03417-VC-TSH
                         Case 3:23-cv-03417-VC          Document 364        Filed 12/26/24       Page 2 of 3



                    1          Pursuant to the Magistrate Judge’s Sealed Order on December 20, 2024 (Dkt. 315)

                    2   (“Order”), Defendant Meta Platforms, Inc. (“Meta”) hereby submits as the attached Exhibit 1 a

                    3   redacted copy of the Order to be filed publicly. Meta respectfully submits that good cause exists

                    4   for the submission of the identified portions of this document under seal for the reasons set forth in

                    5   its earlier-filed Declaration of Nikki Vo (Dkt. 311-1) in support of Meta’s Administrative Motion

                    6   to File Under Seal Dkts. 308 and 309 (Dkt 311), Declaration of Kyanna Sabanoglu (Dkt. 322-1) in

                    7   support of Meta’s Administrative Motion to File Under Seal Dkt. 321, and Declaration of Kyanna

                    8   Sabanoglu (Dkt. 338-1) in support of Meta’s Administrative Motion to File Under Seal Dkts. 334,

                    9   335, and 336 (Dkt. 338). Meta respectfully requests that the Court file a public version of the Order

                   10   with Meta’s proposed redactions as shown in Exhibit 1.

                   11

                   12                                      [Signature on following page]

                   13

                   14

                   15

                   16

                   17

                   18

                   19

                   20

                   21

                   22

                   23

                   24

                   25

                   26

                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                      DEF. META’S RESPONSE TO COURT’S ORDER
                                                                     1                              OF DEC. 20, 2024 [DKT. 315]
                                                                                                       3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC       Document 364       Filed 12/26/24       Page 3 of 3



                    1   Dated: December 26, 2024                       COOLEY LLP

                    2
                                                                       By:       /s/ Colette Ghazarian
                    3                                                        Bobby Ghajar
                                                                             Philip Morton
                    4                                                        Mark Weinstein
                                                                             Kathleen Hartnett
                    5                                                        Teresa Michaud
                                                                             Matthew Brigham
                    6                                                        Judd Lauter
                                                                             Liz Stameshkin
                    7                                                        Colette Ghazarian
                                                                             Juan Pablo Gonzalez
                    8                                                        Cole A. Poppell
                        Full Counsel List
                    9                                                        LEX LUMINA PLLC
                                                                             Mark A. Lemley
                   10   COOLEY LLP
                        PHILLIP MORTON (pro hac vice)                        CLEARY GOTTLIEB STEEN &
                   11   (pmorton@cooley.com)                                 HAMILTON LLP
                        COLE A. POPPELL (pro hac vice)                       Angela L. Dunning
                   12   (cpoppell@cooley.com)
                        1299 Pennsylvania Avenue, NW, Suite 700              Attorneys for Defendant
                   13   Washington, DC 20004-2400                            META PLATFORMS, INC.
                        Telephone:   (202) 842-7800
                   14
                        COOLEY LLP
                   15   MATTHEW BRIGHAM (191428)
                        (mbrigham@cooley.com)
                   16   JUAN PABLO GONZALEZ (334470)
                        (jgonzalez@cooley.com)
                   17   3175 Hanover Street
                        Palo Alto, California 94304-1130
                   18   Telephone:     (650) 843-5000

                   19

                   20

                   21

                   22

                   23

                   24

                   25

                   26

                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                 DEF. META’S RESPONSE TO COURT’S ORDER
                                                                   2                           OF DEC. 20, 2024 [DKT. 315]
                                                                                                  3:23-CV-03417-VC-TSH
